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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



  FEDERAL TRADE COMMISSION,

                   Plaintiff,
                                                       Case No. 1:20-cv-03590-JEB
              v.

  FACEBOOK, INC.,

                   Defendant.


                           NOTICE OF CHANGE OF PARTY NAME

       Defendant Facebook, Inc., hereby informs the Court and all parties that it has changed its

name to Meta Platforms, Inc., effective October 28, 2021.

                                            Respectfully submitted,


January 24, 2022                            /s/ Mark C. Hansen
                                            Mark C. Hansen (D.C. Bar No. 425930)
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                                            (f/k/a Facebook, Inc.)
